                          Case 1:20-cr-00228-MKV Document 22 Filed 11/02/20 Page 1 of 7
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case    (form modified within District on Sept. 30, 2019)
                        Sheet I



                                           UNITED STATES DISTRICT COURT
                                                           Southern District of New York
                                                                                )
              UNITED STATES OF AMERICA                                          )          JUDGMENT IN A CRIMINAL CASE
                                    V.                                          )
                  Allembergen Kudaybergenov                                     )
                                                                                )
                                                                                           Case Number: 20cr228
                                                                                )          USM Number: 87849-054
                                                                                )
                                                                                )           Amy Gallicchio             USDC SDNY
                                                                                )          Defendant' s Attorney
                                                                                                                       DOCUMENT
THE DEFENDANT:
                                                                                                                       ELECTRONICALLY FILED
~ pleaded guilty to count(s)             I of Indictment                                                               DOC #:
D pleaded nolo contendere to count(s)                                                                                  DATE FILED: 11/2/2020
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                                 Offense Ended            Count
18 U.S.C. § 875(c)                 THREATENING INTERSTATE COMMUNICATIONS                                             2/24/2020




       The defendant is sentenced as provided in pages 2 through                       7           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

Ill Count(s) -II -
                 & Ill
                    ---------
                              Dis                                       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                                    11/2/2020
                                                                                Date of Imposition of Judgment




                                                                                Si~,to,coffod~                     /{ff Ifa4J
                                                                                              Mary Kay Vyskocil , United States District Judge
                                                                                Name and Title of Judge


                                                                                                                    11/2/2020
                                                                                Date
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AO 2458 (Rev . 09/1 9) Judgment in Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                    Judgment -   Page      2   of   7
 DEFENDANT: Allembergen Kudaybergenov
 CASE NUMBER: 20cr228

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  10 MONTHS




      D The court makes the following recommendations to the Bureau of Prisons:




       D The defendant is remanded to the custody of the United States Marshal.

       D The defendant shall surrender to the United States Marshal for this district:
            D at                                   D a.m.     D p.m.       on

            D as notified by the United States Marshal.

       0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            D before 2 p.m. on
            D as notified by the United States Marshal.
            D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                          By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                       Judgment- Page    -      of
DEFENDANT: Allembergen Kudaybergenov
CASE NUMBER: 20cr228
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 3 YEARS




                                                       MANDATORY CONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the,court.
               D The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
 5.    ltf You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 2090 I, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.    D You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A - Supervised Release
                                                                                              Judgment-Page                 of _ _ _ _ _ __
DEFENDANT: All e mbe rge n Kudaybergenov
CASE NUMBER: 20cr228

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame .
2 . After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. lfyou plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view .
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full -time employment you must try to find full -time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e. , anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
 12. You must follow the instructions of the probation officer related to the conditions of supervision.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date _ _ _ _ _ _ _ _ _ _ __
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AO 2458 (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3D- Supervised Release
                                                                                          Judgment-Page   5   of   7
DEFENDANT: Allembergen Kudaybergenov
CASE NUMBER: 20cr228

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. You must obey the immigration laws and comply with the directives of immigration authorities.

 2. You will participate in an outpatient treatment program approved by the United States Probation Office , which
 program may include testing to determine whether you have reverted to using drugs or alcohol. You must contribute
 to the cost of services rendered based on your ability to pay and the availability of third-party payments . The
 Court authorizes the release of available drug treatment evaluations and reports , including the presentence
 investigation report, to the substance abuse treatment provider.

 3. You shall submit your person , and any property, residence, vehicle, papers, computer, other electronic
 communication, data storage devices, cloud storage or media, and effects to a search by any United States
 Probation Officer, and if needed , with the assistance of any law enforcement. The search is to be conducted
 when there is reasonable suspicion concerning violation of a condition of supervision or unlawful conduct by the
 person being supervised. Failure to submit to a search may be grounds for revocation of release. You shall warn any
 other occupants that the premises may be subject to searches pursuant to this condition. Any search shall be
 conducted at a reasonable time and in a reasonable manner.

 If you are sentenced to any period of supervision , it is recommended that you be supervised by the district of
 residence .
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                      Judgment -   Page       6    of       7
 DEFENDANT: Allembergen Kudaybergenov
 CASE NUMBER: 20cr228
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                Restitution            Fine                   AV AA Assessment*              JVTA Assessment**
 TOTALS           $    100.00                $                     $                       $                              $



 D The determination of restitution is deferred until _ _ _ _ _ · An Amended Judgment in a Criminal Case (A O 245C) will be
      entered after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately pro2ortioned _payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***               Restitution Ordered            Priority or Percentage




 TOTALS                               $                        0.00            $                      0.00


 D     Restitution amount ordered pursuant to plea agreement $

  D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U .S.C. § 36 l 2(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S .C. § 36 l 2(g).

  D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        D the interest requirement is waived for the           D fine     D restitution.
        D    the interest requirement for the         D fine     D restitution is modified as follows:

  * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
  ** Justice for Victims of Trafficking Act of2015 , Pub. L. No . 114-22.
  *** Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on
  or after September 13, 1994, but before April 23, 1996.
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                        Judgment in a Criminal Case
                        Sheet 6 - Schedule of Payments

                                                                                                             Judgment -   Page _J___ of        I
 DEFENDANT: Allembergen Kudaybergenov
 CASE NUMBER: 20cr228

                                                             SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~     Lump sum payment of$           100.00                    due immediately, balance due


             •     not later than                                        , or
             •     in accordance with D        C,
                                                         •    D,
                                                                     •    E, or    D F below; or

 B     •     Payment to begin immediately (may be combined with                   DC,      D D, or    D F below); or

 C     D     Payment in equal        _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D     Payment in equal         _ _ _ _ _ (e .g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g. , months or years), to commence _ _ _ _ _ (e.g. , 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant' s ability to pay at that time; or

 F     D     Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons ' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




  D     Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                                     Joint and Several              Corresponding Payee,
        (including defendant number)                               Total Amount                   Amount                        if appropriate




  D     The defendant shall pay the cost of prosecution.

  D     The defendant shall pay the following court cost(s):

  D     The defendant shall forfeit the defendant's interest in the following property to the United States:




  Payments shall be a.12plied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
  (5) fine principal, (o) fine interest, (7) community restitution, (8) NTA assessment, (9) penalties, and (10) costs, including cost of
  prosecution and court costs.
